Case 2:03-cv-02456-.]PI\/|-STA Document 144 Filed 07/01/05 Page 1 of 2 Page|D 110

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ThOm».an)
120an M. BOWMAN, G¢EF%%§ HE"WEIMOUBT

Plaintiff,

SHELBY COUNTY, et al.,

vv`d`-'V`-lvv`-¢

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is the motion of Defendants Correctional
Medical Services, Stipanuk, and Shoemaker for sanctions against
Plaintiff for failing to appear at a noticed deposition, filed on
June 27, 2005.

This matter is referred to the United States Magistrate
Judge for report and recommendation. Any exceptions to the
magistrate judge's order shall be made within ten (lO) days of
the magistrate judge’s order, setting forth particularly those
portions of the order excepted to and the reasons for the

exceptions.

So ORDERED this \é§:day of June, 2005.

§§§M

 

S'I‘A'I‘ES DISTRICT JUDGE

Thle document entered on the docket sheet in compliance
with Hu|e 58 and/or 79(a) FRCP on

 

    
 

   

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ThiS notice confirms a copy of the document docketed as number 144 in
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Honorable .1 on McCalla
US DISTRICT COURT

